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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 AIRBNB, INC.,

                               Plaintiff,
                    v.                             No. 1:18-cv-7712-PAE

 THE CITY OF NEW YORK,

                               Defendant.


                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Airbnb, Inc. and

Defendant City of New York, by and through their undersigned counsel, hereby stipulate that

this action and all claims and defenses asserted herein be dismissed with prejudice, with each

party bearing its own attorneys’ fees, costs, and expenses.


Dated: New York, New York
       July 14, 2020


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Corporation Counsel of the City of New York         Attorneys for Plaintiff Airbnb, Inc.
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